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                                          IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF MARYLAND
                                                      Located in Baltimore

                         IN RE

                         CUONG NGUYEN                                  Case No. 16-10799-MMH
                                                                       Chapter 13
                            Debtor

                            NOTICE ENTERING APPEARANCE AND REQUESTS FOR ALL NOTICES

                         Dear Clerk:

                              Please enter the appearance of Mark D. Meyer, Esq. and Rosenberg &
                         Associates, LLC, as the attorneys of record on behalf of U.S.Bank Trust National
                         Association, as Trustee for Towd Point Master Funding Trust 2019-PM8. Please
                         add my name to the mailing matrix and send all notices to:
                              Mark D. Meyer, Esq.
                              Rosenberg & Associates, LLC
                              4340 East West Highway, Suite 600
                              Bethesda, MD 20814

                                                                    ______________________________
                                                                    /s/ Mark D. Meyer, Esq.
                                                                    Mark D. Meyer, Esq.
                                                                    Federal Bar 15070

                                                     CERTIFICATE OF SERVICE

                                I hereby certify that on the 3rd day of June, 2020, I reviewed the Court’s
                         CM/ECF system and it reports that an electronic copy of the Notice of Appearance
                         will be served electronically by the Court’s CM/ECF system on the following:
                         Rebecca A Herr, Trustee

                         Sonila Isak Wintz Esquire
    MARK MEYER
   DC BAR 475552
   MD BAR 15070
                              I hereby further certify that on the 3rd day of June, 2020, a copy of the Notice
   VA BAR 74290
                         of Appearance was also mailed first class mail, postage prepaid to:
     ROSENBERG &
   ASSOCIATES, LLC
4340 East West Highway
                         Cuong Nguyen
       SUITE 600
 BETHESDA, MD 20814
                         2627 E Rhododendron Dr.
    (301) 907-8000       Abingdon, MD 21009
 FILE NUMBER: 77331
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                         Respectfully Submitted,




                         ______________________________
                         /s/ Mark D. Meyer, Esq.
                         Mark D. Meyer, Esq.
                         Federal Bar 15070
                         Rosenberg & Associates, LLC
                         4340 East West Highway, Suite 600
                         Bethesda, MD 20814




    MARK MEYER
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290

     ROSENBERG &
   ASSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 77331
